23-10164-smr Doc#397 Filed 04/02/24 Entered 04/02/24 16:23:35 Main Document Pg 1 of
                                         2



                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

                                          §
   In re:                                 §     Chapter 7
                                          §
   ASTRALABS, INC.                        §     Case No. 23-10164-SMR
                                          §
             Debtor                       §
  ______________________________________________________________________________

        ANDREW RYAN’S LIMITED OBJECTION TO TRUSTEE’S NOTICE OF
                       SUCCESSFUL AND BACK UP BIDDERS
  ______________________________________________________________________________

  TO THE HONORABLE SHAD M. ROBINSON, U.S. BANKRUPTCY JUDGE:

         COMES NOW Andrew Ryan who files this limited objection to the Trustee’s Notice of

  Successful and Back Up Bidders (Doc#392) (“the Notice”).

         1.      Pursuant to the Notice, any objection to the sale based on the identity of the

  purchaser was required to be filed and served upon the Trustee by no later than 5:00 p.m. (Central

  Time) on April 1, 2024. Mr. Ryan approached the Trustee’s counsel with his concerns and it was

  determined that Mr. Ryan’s counsel and Trustee’s counsel would meet on April 2, 2024, and that

  the Trustee would give Mr. Ryan one additional day beyond the original deadline to file any

  objections.

         2.      Mr. Ryan’s limited objection is based on the identity of one of the buyers. The

  identity of the buyer “Angel Deal Syndicate” is unclear. No entity information is given as with the

  other buyers, and the name appears to be generic. Mr. Ryan is seeking the full name and address

  of the entity, as well as state of incorporation and names of principals of the entity.

         3.      Such information is crucial to allow stakeholders to determine whether the sale was

  properly conducted and truly arm’s length. At minimum, the Trustee is required to disclose the

  full name and address of the entity pursuant to Local Bankruptcy Rule 6004. Further, the Trustee
23-10164-smr Doc#397 Filed 04/02/24 Entered 04/02/24 16:23:35 Main Document Pg 2 of
                                         2



  must ensure that the sale was not made to any insider of the Trustee or the auctioneer pursuant to

  28 U.S.C. § 586.

          WHEREFORE, PREMISES CONSIDERED, Andrew Ryan, prays that the Court deny the

  Trustee’s request, and for other just relief.

  Dated: April 2, 2024                                Respectfully submitted,

                                                      /s/ Ron Satija
                                                      Ron Satija
                                                      State Bar No. 24039158
                                                      HAYWARD PLLC
                                                      7600 Burnet Road, Suite 530
                                                      Austin, TX 78757
                                                      (737) 881-7102
                                                      rsatija@haywardfirm.com
                                                      Counsel for Andrew Ryan, Creditor


                                    CERTIFICATE OF SERVICE

          The signature above certifies that a true and correct copy of the foregoing document has
  been served by CM/ECF or by first class, U.S. mail, postage prepaid within one business day of
  April 2, 2024, on the following. The undersigned would note that the Notice required service only
  on the “Trustee.”


   Randolph Osherow                                 Jay Ong
   342 W Woodlawn, Suite 100                        Munsch Hardt Kopf & Harr, P.C.
   San Antonio, TX 78212                            1717 West 6th Street
   (210) 738-3001                                   Suite 250
   rosherow@hotmail.com                             Austin, TX 78703
   Trustee.                                         jong@munsch.com
                                                    Representing Randolph N Osherow.


   United States Trustee – AU12
   Attn: Shane P. Tobin
   903 San Jacinto Blvd., Room 230
   Austin, Texas 78701

   United States Trustee.
                                                      /s/ Ron Satija
                                                      Ron Satija
